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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


AYMAN SAIED JOUMAA,

              Plaintiff,

       v.                              Civil Action No. 17-2780 (TJK)

STEVEN MNUCHIN, et al.,

              Defendants.


    MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
        OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       As the leader of an international criminal network, Plaintiff Ayman Saied Joumaa

(“Joumaa”) coordinated multi-ton shipments of cocaine from South America and laundered

hundreds of millions of dollars in narcotics proceeds through a variety of channels, from

Lebanese exchange houses to bulk cash smuggling in Mexico to the purchase and export of used

vehicles to West Africa. Following an investigation that uncovered his large-scale narcotics

trafficking and money laundering activities, the Office of Foreign Assets Control (“OFAC”)

designated Joumaa as a Specially Designated Narcotics Trafficker (“SDNT”) pursuant to the

Foreign Narcotics Kingpin Designation Act (“Kingpin Act”) on January 26, 2011. Later that

year, Joumaa was also indicted in the U.S. District Court for the Eastern District of Virginia on

two counts for his role in narcotics distribution and money laundering.

       In May of 2016, Joumaa requested that OFAC reconsider his designation and remove him

from the list of Specially Designated Nationals and Blocked Persons (“SDN List”).

Categorically denying that he has ever been involved in narcotics trafficking or money

laundering, he claimed that OFAC lacked a sufficient basis to designate him in 2011.

Alternatively, he argued that OFAC lacks “current” information to justify the “maintenance” of

his designation and “the continued blocking of his assets.” After Joumaa filed this action, OFAC

denied his delisting request based on its determination that Joumaa continues to meet the criteria

for designation under the Kingpin Act and thus should remain on the SDN List.

       Though Joumaa remains a fugitive from the charges pending against him in the Eastern

District of Virginia, he now seeks to avail himself of the authority of this Court in order to

contest his designation. He raises three arguments in support of his Complaint, all without merit.




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       First, Joumaa argues that OFAC unreasonably delayed its decision on his request for

reconsideration. But that claim is now moot in light of OFAC’s denial of his request, and in any

event is unsupported by either the Administrative Procedure Act (“APA”) or OFAC’s regulations

implementing the Kingpin Act. Further, the timing of OFAC’s decision can hardly be described

as unreasonable, particularly given Joumaa’s repeated supplementation of his petition and the

rigorous review required by OFAC.

       Second, Joumaa contends that the “maintenance” of his designation and “the continued

blocking of his assets” are arbitrary and capricious because OFAC allegedly lacks “current

information” to support his designation. This argument, however, fails as a matter of law, as

OFAC’s “maintenance” of designations and “the continued blocking of [] assets” are neither

agency actions nor final agency actions subject to judicial review under the APA. Joumaa’s

claim also fails on the merits, as the administrative record fully supports the only reviewable

decision, namely OFAC’s denial of Joumaa’s request for reconsideration.

       Third, according to Joumaa, OFAC violated his purported rights under the Constitution

and the APA by inadequately notifying him of the basis for his continued designation. Again,

his argument fails on multiple grounds. As a foreign national without substantial contacts with

the United States, Joumaa lacks standing to assert constitutional rights. Moreover, OFAC’s

various disclosures—including a redacted administrative record, press release, press chart,

correspondence, and non-privileged and unclassified summaries of otherwise privileged

information—more than adequately apprise him of the basis for his designation and the denial of

his request for reconsideration.

       Accordingly, and for the reasons discussed more fully below, the Court should dismiss

Joumaa’s claims or, in the alternative, grant summary judgment in favor of the government.



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                                        BACKGROUND

       A.        Statutory Background

       In 1999, Congress enacted the Kingpin Act to address “a national emergency resulting

from the activities of international narcotics traffickers and their organizations.” 21 U.S.C.

§ 1901(a)(4). The statute aims “to protect the national security, foreign policy, and economy of

the United States” from the dangers of the global drug trade by “apply[ing] economic and other

financial sanctions to significant foreign narcotics traffickers and their organizations worldwide.”

Id. § 1901(b).

       Congress modeled the Kingpin Act on the successful application of the International

Emergency Economic Powers Act (“IEEPA”), 50 U.S.C. §§ 1701-1707, to international

narcotics traffickers in Colombia. H.R. Rep. No. 106-457 at 42 (Nov. 9, 1999), as reprinted in

1999 U.S.C.C.A.N. 304. IEEPA authorizes the President to declare a national emergency

resulting from “any unusual and extraordinary threat, which has its source in whole or substantial

part outside the United States, to the national security, foreign policy, or economy of the United

States,” and to deal with that threat through, inter alia, designations for economic and financial

sanctions. Id. §§ 1701-1702. The President has exercised the broad spectrum of powers that

IEEPA provides by issuing Executive Orders that address different national emergencies. In

October 1995, pursuant to IEEPA, President Clinton issued Executive Order 12,978, which

declared a national emergency resulting from international narcotics trafficking centered in

Colombia and associated violence and corruption. Exec. Order No. 12,978, 60 Fed. Reg. 54,579

(Oct. 21, 1995) (Blocking Assets and Prohibiting Transactions with Significant Narcotics

Traffickers). Executive Order 12,978 ordered the blocking of the assets of foreign persons

identified in an annex to the Executive Order and of foreign persons designated by the Secretary



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of the Treasury as playing a significant role in such narcotics trafficking or providing material

support or being owned or controlled by designated traffickers. Id. Implementation of this

Executive Order is credited with the downfall of the Cali Cartel kingpins. H.R. Rep. No. 106-

457 at 43.

        The Kingpin Act expressly states that it is Congress’s desire to apply similar efforts

against international narcotics traffickers worldwide. 21 U.S.C. § 1901(a)(3) (“IEEPA was

successfully applied to international narcotics traffickers in Colombia and based on that

successful case study, Congress believes similar authorities should be applied worldwide.”); see

also H.R. Rep. No. 106-457 at 42-43. The House Conference Report on the Kingpin Act

explains that “[i]f effectively implemented, this strategy will disrupt these criminal organizations

and bankrupt their leadership.” H.R. Rep. No. 106-457 at 42. “The targets of this legislation are

not only the drug kingpins, but those involved in their illicit activities, such as: money

laundering, acquiring chemical precursors to manufacture narcotics, manufacturing the drugs,

transporting narcotics from the drug source countries to the United States, and managing the

assets of these criminal enterprises.” Id. at 43.

        To that end, the Kingpin Act authorizes the President to identify foreign persons whom

he determines to be significant foreign narcotics traffickers, meaning “foreign person[s] that

play[] a significant role in international narcotics trafficking.” 21 U.S.C. §§ 1903(b), 1907(7);

see also id. § 1907(3) (defining “narcotics trafficking” as “any illicit activity to cultivate,

produce, manufacture, distribute, sell, finance, or transport narcotic drugs, controlled substances,

or listed chemicals, or otherwise endeavor or attempt to do so, or to assist, abet, conspire, or

collude with others to do so”). The statute further authorizes the Secretary of the Treasury, in

consultation with the Attorney General, the Director of Central Intelligence, the Director of the



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Federal Bureau of Investigation, the Administrator of the Drug Enforcement Administration, the

Secretary of Defense, and the Secretary of State, to designate foreign persons “as materially

assisting in, or providing financial or technological support for or to, or providing goods or

services in support of, the international narcotics trafficking activities of a significant foreign

narcotics trafficker,” id. § 1904(b)(2); “as owned, controlled, or directed by, or acting for or on

behalf of, a significant foreign narcotics trafficker,” id. §1904(b)(3); or “as playing a significant

role in international narcotics trafficking,” id. § 1904(b)(4). The Secretary of the Treasury has

delegated designation authority to OFAC. 31 C.F.R. § 598.803.1 OFAC’s regulations refer to

such foreign persons, as well as presidentially identified significant foreign narcotics traffickers,

as SDNTs. Id. § 598.314.

       For all SDNTs, the Kingpin Act operates to block all assets subject to United States

jurisdiction that are owned or controlled by the SDNT and all interests in such property. 21

U.S.C. § 1904(b). United States persons as well as persons within the United States are

generally prohibited from engaging in any transaction with or dealing in any property or interests

in property of SDNTs as well as from engaging in any transaction that evades or avoids the

Kingpin Act’s prohibitions. Id. § 1904(c).

       Once designated, a SDNT may “seek administrative reconsideration” of his designation,

or may “assert that the circumstances resulting in the designation no longer apply.” 31 C.F.R.

§ 501.807. In doing so, the SDNT “may submit arguments or evidence that the person believes

establishes that insufficient basis exists for the designation,” and may also “propose remedial

steps on the person’s part . . . which the person believes would negate the basis for designation.”



1
 On May 15, 2015, the President delegated to the Secretary of the Treasury the functions
conferred by 21 U.S.C. § 1903(b), (c), (g), and (h). Delegation of Functions Under the Foreign
Narcotics Kingpin Designation Act, 80 Fed. Reg. 29,201 (May 15, 2015).
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Id. § 501.807(a). Additionally, the SDNT may request a meeting with the agency. 31 C.F.R.

§ 501.807(c). After conducting a review, OFAC will “provide a written decision” to the SDNT.

Id. § 501.807(d). OFAC’s regulations do not limit the number of times a SDNT may seek to

challenge his designation administratively. See generally id. § 501.807.

       B.      Factual Background

       On January 26, 2011, OFAC designated Joumaa, a Lebanese and Colombian national, as

a SDNT based on the agency’s determination that he plays a significant role in international

narcotics trafficking. Admin. R. (“A.R.”) at 23-24, 67. Investigations by the Drug Enforcement

Administration (“DEA”) revealed that Joumaa “coordinated the transportation, distribution, and

sale of multi-ton shipments of cocaine from South America and [] laundered the proceeds from

the sale of cocaine in Europe and the Middle East.” Id. at 67. Specifically, Joumaa and his

organization—the Joumaa Money Laundering Organization / Drug Trafficking Organization,

also designated by OFAC, id. at 24—operated in Lebanon, West Africa, Panama, and Colombia

to launder as much as $200 million per month in illicit proceeds, id. at 67. Joumaa and his

organization utilized a variety of channels to further his money laundering activities, “including

bulk cash smuggling operations and Lebanese exchange houses.” Id. at 67. Joumaa’s drug

trafficking and money laundering organization also exported vehicles from the United States to

West Africa to launder drug proceeds. Id. at 27, 67. Also on January 26, 2011, OFAC

designated individuals and entities connected to Joumaa’s organization as SDNTs, including

three Lebanon-based money exchanges used to launder illicit proceeds; individuals affiliated

with these money exchanges; companies in Lebanon, Benin, and the Democratic Republic of the

Congo involved in the sale of used cars in Africa; Joumaa’s brothers; a hotel used by Joumaa’s




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organization as a location to broker drug trafficking and money laundering activities; and various

companies owned or controlled by members of Joumaa’s criminal network. Id. at 23-25, 67.

       In June of 2011, a DEA Special Agent submitted an affidavit in support of a criminal

complaint in the U.S. District Court for the Eastern District of Virginia charging Joumaa and

another individual with conspiracy to distribute more than five kilograms of cocaine for the

purpose of unlawful importation into the United States. Id. at 72. The Special Agent had been

involved in an investigation into Joumaa that included “extensive interviews with cooperating

defendants and DEA confidential sources as well as undercover operations in Colombia,

Denmark, and Germany.” Id. According to the Special Agent, based on information from a

confidential source, Joumaa “would arrange for the laundering of drug related proceeds from

Mexico, Europe (predominantly Spain), and West Africa to Colombia.” Id. at 73. Charging a

fee of approximately thirteen percent, Joumaa and members of his organization would launder

these proceeds, in the form of U.S. currency, and return them in Colombia. Id. Joumaa would

also receive the delivery of bulk U.S. currency from the sale of cocaine shipped to the United

States; following delivery of these proceeds, Joumaa would pay laundered proceeds in different

currencies within five days. Id. at 73-74.

       The DEA Special Agent also averred, based on information from a separate confidential

source, that Joumaa would launder proceeds from the sale of cocaine bound for the United States

by way of Colombia, Guatemala, Honduras, and the Los Zetas trafficking organization in

Mexico, and then repay these proceeds in Colombia and Venezuela. Id. at 74. Joumaa would

charge a fee of approximately thirteen percent to launder these funds. Id. at 74-75.

       In November of 2011, Joumaa was indicted in the Eastern District of Virginia for

conspiracy to distribute five or more kilograms of cocaine, knowing and intending that it would



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be unlawfully imported into the United States, as well as for conspiracy to commit money

laundering. Id. at 77-83. The Indictment charges in part that Joumaa “coordinated the shipment

of at least tens of thousands of kilograms of cocaine from Colombia, through Central America

and Mexico, to the United States, including but not limited to 85,000 kilograms of cocaine

shipped from Colombia for sale to [the] Los Zetas drug cartel from in and around 2005 through

in and around 2007.” Id. at 79-80; see also id. at 80 (charging that Joumaa “coordinated the

shipment of multi-thousand kilogram quantities of cocaine from Colombia to Guatemala,

Honduras, and Mexico for sale to [the] Los Zetas drug cartel in Mexico” that were ultimately

destined for the United States).

         The Indictment further charges that Joumaa “laundered at least hundreds of millions of

dollars in proceeds of illegal drug sales in the United States and elsewhere, including but not

limited to an amount in excess of $250 million in drug related proceeds representing cocaine

sales in the United States, Mexico, Central America, and Europe, which [Joumaa] laundered

from in and around 1997 through in and around September 2010.” Id. at 80. Specifically, after

being contacted by email, Blackberry PIN, or telephone, Joumaa would receive, launder, and

return drug-related proceeds to cocaine suppliers in Colombia, while charging a fee between

eight percent and fourteen percent. Id. Joumaa also received deliveries of bulk cash—typically

$2 million to $4 million in drug proceeds—in Mexico, which he then laundered and paid out in

Venezuela or Colombia within one to five days. Id. at 80-81; see also id. at 81 (further detailing

movement of drug proceeds). Joumaa has not returned from Lebanon to face these charges. Id.

at 4, 84-85.

       On May 18, 2016, Joumaa, through counsel, requested that OFAC reconsider his

designation as a SDNT pursuant to the Kingpin Act. Id. at 87-90. Also on May 18, 2016,



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Joumaa requested access to the administrative record on which his designation was based. Id. at

92-98. That same day, OFAC acknowledged receipt of Joumaa’s requests and advised Joumaa’s

counsel that “the review process can be lengthy, and it is likely that OFAC will seek additional

information from your client before a final determination is made concerning your client’s

designation as a SDNT.” Id. at 99. OFAC subsequently provided Joumaa a request for

additional information on July 27, 2016, id. at 100-05, to which Joumaa partially responded on

October 25, 2016, id. at 106-42. That response included a categorical denial that Joumaa is or

has ever been involved in narcotics trafficking or related money laundering. Id. at 131, 139.

       By letter dated November 18, 2016, OFAC provided Joumaa a redacted version of the

administrative record on which his designation was based, as well as the U.S. Department of the

Treasury press release and press chart related to his designation. Id. at 26-66. OFAC redacted

the classified and privileged information, including law enforcement sensitive information, as

well as information that did not pertain to Joumaa’s designation. Id. at 26. The agency

nevertheless provided a non-privileged and unclassified summary of otherwise privileged

information. Id. at 27. OFAC also advised that if additional releasable information became

available it would be provided to Joumaa. Id. at 26.

       On April 24, 2017, Joumaa supplemented his delisting petition with additional

information and responses to OFAC’s request for information. Id. at 397-410. Joumaa again

supplemented his petition on August 24, 2017, arguing that “[t]he lack of any contemporaneous

evidence linking [Joumaa] to narcotics trafficking activities—even at the time of OFAC’s

January 26, 2011 designation—renders OFAC’s decision to continue [his] designation as

factually and legally suspect.” Id. at 1397. OFAC responded by letter dated October 16, 2017,

stating that Joumaa’s request for reconsideration was under review. Id. at 1418. The agency



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explained that its decision regarding the delisting petition “includes careful review of the

documents you have thus far submitted” and that “[t]he quantity of reconsideration cases and the

complexity of these cases can make this a lengthy process.” Id. OFAC further stated that “the

reconsideration decision for all such requests requires U.S. federal government inter-agency

consultation and legal review,” which “has delayed our response time.” Id. On December 27,

2017, Joumaa filed this action. Complaint for Declaratory and Injunctive Relief (“Complaint” or

“Compl.”), ECF No. 1 (Dec. 27, 2017).

       On March 2, 2018, OFAC denied Joumaa’s request for reconsideration. A.R. at 1-21,

1612-14.2 Relying on a variety of sources, OFAC determined that Joumaa’s claims that he is

not, and never has been, a narcotics trafficker are not credible. Id. at 4-9, 1612-14. Contrary to

Joumaa’s disavowal of narcotics trafficking, OFAC observed that he is subject to narcotics

trafficking-related charges in the Eastern District of Virginia. Id. at 5-7, 1612 (referencing

indictment and affidavit in support of arrest warrant and criminal complaint). Additionally, and

also contrary to Joumaa’s denials, OFAC explained that Joumaa worked with SDNT Pedro Mejia

Salazar as part of a global drug money laundering operation. Id. at 9-11, 1613. The agency

further concluded that Joumaa’s request for reconsideration “is not supported by credible

evidence to establish that there was an insufficient basis for the January 26, 2011 designation, or

that circumstances resulting in the designation no longer apply such that removal from the [SDN

List] is warranted.” Id. at 1613.

       In support of this conclusion, OFAC addressed the numerous exhibits submitted by

Joumaa, many of which concerned the Hassan Ayash Exchange Company and the New Line



2
  OFAC’s decision is based in part on classified and law enforcement sensitive information. Id.
at 1612, 1614. OFAC intends to lodge a copy of the unredacted record with the Court when the
parties file the joint appendix required by Local Civil Rule 7(n).
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Exchange Trust Co.—two Lebanon-based entities used by Joumaa in connection with his money

laundering activities—as well as Goldi Electronics S.A.—a Panama-based entity owned or

controlled by Joumaa. Id.; see also id. at 14-16, 67. For purposes of deciding Joumaa’s request

for reconsideration, OFAC accepted that the operations of or his relationship to these entities

ceased after his designation. Id. at 15, 1613 n.1. Nevertheless, OFAC reasoned that the

documents submitted by Joumaa do not rebut OFAC’s own evidence that Joumaa had previously

laundered money through the Hassan Ayash Exchange Company and the New Line Exchange

Trust Co. Id. at 15, 1613. The documents also fail to “address the other aspects of Mr. Joumaa’s

drug trafficking and money laundering network that served as the basis for his designation, such

as the Ellissa Exchange Company.” Id. at 1613; see also id. at 15. Nor had Joumaa addressed

all of OFAC’s findings regarding his money laundering through channels outside of Lebanon,

including by means not involving business entities. Id. at 15, 1613. And while OFAC duly

considered an independent report indicating that the New Line Exchange Trust Co. appeared to

comply with certain provisions to prevent money laundering, the agency noted that Joumaa did

not submit similar reports regarding the Hassan Ayash Exchange Company or the Ellissa

Exchange Company. Id. at 15-16, 1613.

       OFAC also addressed the remaining arguments advanced by Joumaa in his counsel’s

correspondence to OFAC dated October 25, 2016. Id. at 13-16, 1613. In response to Joumaa’s

concern about “mistaken designations,” OFAC stated that “Joumaa has provided no evidence to

indicate that his designation was due to mistaken identity.” Id. at 14, 1613. And with respect to

Joumaa’s challenge to the credibility of sources relied upon by OFAC, the agency explained that

Joumaa had not “provided any information to impugn the accuracy and integrity of OFAC’s fact

finding process.” Id. at 14, 1613.



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       Accordingly, OFAC concluded that it is appropriate to continue to designate Joumaa as a

SDNT under the Kingpin Act. Id. at 16-17, 1612.3

       C.      Plaintiff’s Complaint

       Joumaa filed this action against Defendants Steven Mnuchin, in his official capacity as

Secretary of the U.S. Department of the Treasury, and OFAC. See Compl. at 1. Joumaa’s

Complaint advances three theories concerning his designation as a SDNT. See id. ¶¶ 33-45.

First, Joumaa contends that OFAC has unreasonably delayed a decision regarding his request for

removal from the SDN List. Id. ¶¶ 33-35. He therefore requests that the Court “[d]eclar[e]

and/or order[] Defendants to issue a written, reasoned decision on Plaintiff’s request for

administrative reconsideration of his Kingpin Act designation” pursuant to the APA, 5 U.S.C.

§ 706(1). Compl., Relief Requested.

       Second, Joumaa claims that OFAC’s “maintenance of Plaintiff’s designation under the

Kingpin Act and the continued blocking of his assets” violate the APA and the Kingpin Act

because OFAC allegedly lacks evidence that Joumaa “is currently engaged in international

narcotics trafficking activities” and therefore cannot designate Joumaa as a SDNT. Id. ¶¶ 38-394

(citing 5 U.S.C. § 706(2)(A)); see also id. ¶ 40 (alleging “Defendants lack a statutory basis to

maintain Plaintiff’s designation in the absence of contemporary evidence linking Plaintiff to

activities in support of international narcotics trafficking”) (citing 5 U.S.C. § 706(2)(C)).

Joumaa accordingly requests that the Court “[d]eclar[e] and/or order[] Defendants to rescind




3
  After issuing its decision, OFAC provided Joumaa with non-privileged and unclassified
summaries of otherwise privileged information regarding his initial designation as well as the
denial of his request for reconsideration. A.R. at 1615-17.
4
  The Complaint contains two paragraphs designated as paragraph 39. See Compl. at 15-16.
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Plaintiff’s designation under the Kingpin Act and to remove his name from the SDN List.”

Compl., Relief Requested.

        Third, Joumaa asserts due process claims grounded in both the Fifth Amendment and the

APA. See id. ¶¶ 39, 41, 43-45. According to Joumaa, the information provided to him by OFAC

does not sufficiently describe—and therefore constitutes inadequate notice of—the basis for his

designation. Id. (citing U.S. CONST. amend. V; 5 U.S.C. § 706(2)(B), § 706(2)(D)). He also

claims that the timing of OFAC’s decision on his request for reconsideration infringes on his

rights under the Fifth Amendment. Compl., ¶ 45. As to this claim, Joumaa requests that the

Court “[d]eclare and/or order [] Defendants to disclose to Plaintiff any and all information,

documents, evidence, or other material related to or serving as a basis for Defendants’ continued

maintenance of Plaintiff’s designation under the Kingpin Act.” Compl., Relief Requested.

                              LEGAL STANDARDS OF REVIEW

        On a motion to dismiss under Rule 12(b)(1), the plaintiff bears the burden of establishing

the court’s subject-matter jurisdiction. E.g., Zevallos v. Obama, 10 F. Supp. 3d 111, 116 (D.D.C.

2014), aff’d, 793 F.3d 106 (D.C. Cir. 2015) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555,

561 (1992)). In deciding a Rule 12(b)(1) motion, a court may consider materials outside the

pleadings. Id. (explaining that “[b]ecause subject matter jurisdiction focuses on the Court’s

power to hear a claim, the Court must give the plaintiff’s factual allegations closer scrutiny than

would be required for a 12(b)(6) motion for failure to state a claim”). A court lacks subject-

matter jurisdiction over claims that are moot, and moot claims are properly dismissed on that

ground. See id. at 123-24.

        A Rule 12(b)(6) motion tests whether a complaint “contain[s] sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556



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U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). While a

complaint “does not need detailed factual allegations,” it “requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

Twombly, 550 U.S. at 555 (internal citations omitted). For purposes of a Rule 12(b)(6) motion,

the “complaint” also includes matters incorporated therein. E.g., Hinton v. Corr. Corp. of Am.,

624 F. Supp. 2d 45, 46 (D.D.C. 2009) (“Matters that are not ‘outside’ the pleadings a court may

consider on a motion to dismiss include ‘the facts alleged in the complaint, documents attached

as exhibits or incorporated by reference in the complaint,’ . . . or documents ‘upon which the

plaintiff’s complaint necessarily relies’ even if the document is produced not by the plaintiff in

the complaint but by the defendant in a motion to dismiss.”) (citations omitted).

       Rule 12(d) authorizes the court to treat a Rule 12(b)(6) motion as a motion for summary

judgment under Rule 56 where the defendants rely on matters outside the pleadings, provided

that all parties have a reasonable opportunity to present all material pertinent to the motion. Fed.

R. Civ. P. 12(d); Conant v. Wells Fargo Bank, N.A., 60 F. Supp. 3d 99, 106 (D.D.C. 2014).

Under Rule 56, “[t]he court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a); Conant, 60 F. Supp. 3d at 107. In the context of an APA claim,

“[s]ummary judgment [] serves as the mechanism for deciding, as a matter of law, whether the

agency action is supported by the administrative record and otherwise consistent with the APA

standard of review.” Zevallos, 10 F. Supp. 3d at 117 (quoting Kadi v. Geithner, 42 F. Supp. 3d

1, 9 (D.D.C. 2012)); see also id. (noting the court’s “limited role” “in reviewing the

administrative record” and explaining that “[w]hen assessing a summary judgment motion in an

APA case, ‘the district judge sits as an appellate tribunal’”) (citation omitted).



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                                          DISCUSSION

I.     JOUMAA’S CLAIM OF UNREASONABLE DELAY IS MOOT AND WITHOUT MERIT.

       Count I of Joumaa’s Complaint is premised on the lack of a decision by OFAC regarding

his administrative request for reconsideration. See Compl., ¶¶ 33-35. Specifically, Joumaa

alleges under 5 U.S.C. § 706(1) that OFAC has “unreasonably delay[ed] a decision regarding

Plaintiff’s request to be removed from the SDN List” and requests that the Court “[d]eclar[e]

and/or order[] Defendants to issue a written, reasoned decision on Plaintiff’s request for

administrative reconsideration of his Kingpin Act designation.” Id., Relief Requested.

       Joumaa’s claim is moot. Pursuant to Article III of the Constitution, “[f]ederal courts are

authorized to adjudicate only ‘actual, ongoing controversies’ that are within the jurisdiction of

the court.” NTCH, Inc. v. FCC, 841 F.3d 497, 504 (D.C. Cir. 2016) (quoting Honig v. Doe, 484

U.S. 305, 317 (1988)). “A live controversy must exist at all stages of judicial review, not only

when a complaint is filed.” Id. (citation omitted). “If events outrun the controversy such that the

court can grant no meaningful relief, the [claim] must be dismissed as moot.” Id. (citation

omitted).

       As discussed above, OFAC has now issued its decision on Joumaa’s request for

reconsideration and has declined to remove him from the SDN List. A.R. at 1-21, 1612-14.

“Though that is not the result [Joumaa] hoped for, it is still a decision.” Zevallos, 10 F. Supp. 3d

at 123. The Court can therefore award no relief under Joumaa’s § 706(1) claim beyond that

already provided by OFAC. See id. (“All this Court can do is ‘compel agency action . . .

unreasonably delayed,’ i.e., compel OFAC to issue a decision—which it has already done.”)

(quoting 5 U.S.C. § 706(1)). Accordingly, and consistent with the court’s decision in Zevallos,




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Count I of the Complaint is moot and must be dismissed for lack of subject-matter jurisdiction

pursuant to Rule 12(b)(1). See id.

       In addition to being moot, Joumaa’s unreasonable delay claim is unsupported by the

Kingpin Act or OFAC’s regulations. “[A] claim under § 706(1) can proceed only where a

plaintiff asserts that an agency failed to take a discrete agency action that it is required to take.”

Norton v. S. Utah Wilderness All., 542 U.S. 55, 64 (2004) (“SUWA”). “The limitation to

required agency action rules out judicial direction of even discrete agency action that is not

demanded by law . . . .” Id. Nothing in the Kingpin Act provides a deadline by which OFAC

must decide a request for reconsideration and removal. See 21 U.S.C. §§ 1901 et seq. And

§ 501.807 of OFAC’s regulations, on which Joumaa relies, see Compl., ¶¶ 20-22, 24, provides

the procedures governing delisting petitions but does not establish a period of time within which

OFAC must issue a decision. See 31 C.F.R. § 501.807. Joumaa therefore cannot demonstrate

that OFAC was required to decide his request within a specific period of time. Cf. Orlov v.

Howard, 523 F. Supp. 2d 30, 37 (D.D.C. 2007) (“Here, there are no statutory guidelines

compelling USCIS to adjudicate adjustment of status applications within a certain period of time.

Thus, plaintiff plainly cannot assert that USCIS has failed to adjudicate his application within a

time period in which it was required to do so.”).

       Moreover, Joumaa’s claim of unreasonable delay fails on the merits. Joumaa initially

sought reconsideration of his designation in May of 2016. A.R. at 87-90. At Joumaa’s request,

id. at 89-90, OFAC provided him a questionnaire to which he could respond with specific

information, id. at 100-05. Joumaa submitted a partial response in October of 2016, and then

supplemented his response and petition in April and August of 2017, id. at 106-42, 397-410,

1394-1403. Additionally, and as OFAC explained, “the review process [regarding a request for



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reconsideration] can be lengthy,” id. at 99, as it includes “careful review of the documents”

submitted by SDNTs, id. at 1418, as well as “U.S. federal government inter-agency consultation

and legal review,” id. OFAC’s ability to respond by a date satisfactory to Joumaa is further

impeded by “[t]he quantity of reconsideration cases and the complexity of these cases.” Id.

Under these circumstances, OFAC’s decision cannot be properly characterized as unreasonably

delayed.

       But even if the decision were to be considered unreasonably delayed, Joumaa identifies

no harm resulting from the length of time his petition was pending. Any such delay therefore

would amount to harmless error. See 5 U.S.C. § 706 (requiring courts reviewing agency action

to take “due account . . . of the rule of prejudicial error”); Zevallos, 10 F. Supp. 3d at 124

(“[W]hether OFAC took one month, one year, or one decade to decide his case, the length of

time it took did not change the outcome for him at all . . . .”).

       The Court should therefore dismiss Count I of the Complaint under Rule 12(b)(1).

Alternatively, the Court should dismiss Count I under Rule 12(b)(6) or enter summary judgment

on Count I in Defendants’ favor under Rule 56.

II.    JOUMAA HAS FAILED TO ESTABLISH THAT OFAC’S DECISION REGARDING HIS
       DESIGNATION IS ARBITRARY AND CAPRICIOUS.

       Joumaa does not contend that OFAC acted arbitrarily and capriciously when it designated

him as a SDNT on January 26, 2011. See Compl., ¶¶ 36-41. Nor could he, as such a claim

would be time-barred. See Harris v. FAA, 353 F.3d 1006, 1009-10 (D.C. Cir. 2004) (explaining

that, pursuant to 28 U.S.C. § 2401, challenge must be brought within six years of date of final

agency action); Zevallos, 10 F. Supp. 3d at 129 n.16 (noting challenge to Kingpin Act

designation brought after more than eight years “is likely beyond the six-year statute of

limitations”). Thus, too late to contest his initial designation, Joumaa challenges the

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“maintenance” of his designation and “the continued blocking of his assets” as arbitrary and

capricious and in excess of OFAC’s statutory authority. Compl., ¶¶ 38-41 (citing 5 U.S.C.

§ 706(2)(A), § 706(2)(C)). But as explained below, that challenge was premature and thus

unreviewable, because “maintenance” and “continued blocking” do not constitute agency

actions, let alone final agency actions, under the APA. Accordingly, Joumaa’s claim should be

dismissed for failure to state a claim. Further, the only decision on which Joumaa could seek

review—OFAC’s decision to deny Joumaa’s request for removal from the SDN List—readily

withstands scrutiny under the applicable APA standards; thus, if the Court were to reach the

merits, it should grant summary judgment to Defendants.

       A.      Joumaa Has Not Stated A Claim For Relief Related To OFAC’s
               “Maintenance” Of His Designation And “The Continued Blocking Of His
               Assets”

       The APA expressly limits judicial review to “final agency action.” 5 U.S.C. § 704.5

Courts “have long recognized” that the term “agency action,” while “expansive,” “is not so all-

encompassing as to authorize . . . judicial review over everything done” by an agency. Fund for

Animals, Inc. v. BLM, 460 F.3d 13, 19 (D.C. Cir. 2006). The APA defines “agency action” as

“the whole or a part of an agency rule, order, license, sanction, relief, or the equivalent or denial

thereof, or failure to act.” 5 U.S.C. §§ 551(13), 701(b)(2). The APA then further defines each of

these categories of action. See id. §§ 551(4), (6), (8), (10), (11). Common among all categories

is that they “involve circumscribed, discrete agency actions.” SUWA, 542 U.S. at 62; see also

Lujan, 497 U.S. at 891 (“Under the terms of the APA, respondent must direct its attack against

some particular ‘agency action’ that causes it harm.”).



5
 Final agency action is not a jurisdictional requirement. Trudeau v. Fed. Trade Comm’n, 456
F.3d 178, 184 (D.C. Cir. 2006). Accordingly, this issue is properly resolved on a motion under
Rule 12(b)(6), not Rule 12(b)(1). See id. at 187.
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       OFAC’s “maintenance” of Joumaa’s designation and “the continued blocking of his

assets” are not agency actions within the meaning of the APA. “[T]here is no agency decision,

reasoning, or record for the Court to assess” such ongoing activities related to the

implementation and enforcement of OFAC’s designation. See DTCC Data Repository (U.S.)

LLC v. U.S. Commodity Futures Trading Comm’n, 25 F. Supp. 3d 9, 18 (D.D.C. 2014) (citing

Sprint Nextel Corp. v. FCC, 508 F.3d 1129, 1133 (D.C. Cir. 2007)). Indeed, such activities are,

by definition, not discrete. See Lujan, 497 U.S. at 890 (holding challenge to “continuing . . .

operations of agency,” as with a challenge to a DEA “drug interdiction program,” did not

sufficiently identify an agency action for APA review); Cobell v. Norton, 240 F.3d 1081, 1095

(D.C. Cir. 2001) (stating that, under the APA, a plaintiff may challenge “a single step or

measure” but not “an on-going program or policy”); Fund for Animals, 460 F.3d at 20

(“activities that comprise the common business of managing government programs” are not final

agency actions); Bark v. U.S. Forest Serv., 37 F. Supp. 3d 41, 50 (D.D.C. 2014) (APA “requires

more” than “amorphous description of [agency’s] practices”); Banner Health v. Sebelius, 797 F.

Supp. 2d 97, 110 (D.D.C. 2011) (“Plaintiffs’ vague and non-specific allegations challenging the

Secretary’s overall ‘implementation’ and ‘enforcement’ of the outlier payment system plainly

‘lack the specificity requisite for agency action.’”) (quoting SUWA, 542 U.S. at 66); Cal.

Sportfishing Prot. All. v. U.S. Bureau of Reclamation, No. 115CV00912, 2015 WL 6167521, at

*6 (E.D. Cal. Oct. 20, 2015) (concluding agency’s implementation of orders approving petitions

was not agency action).

       The flaw in Joumaa’s argument stands in even sharper relief when taken to its logical

end. By Joumaa’s reasoning, OFAC must continually update its repository of information about




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every individual on the SDN List—which spans more than 1,100 pages6—and constantly

reevaluate and justify every one of its designation decisions. Such a theory overlooks the limited

resources of OFAC and the agencies from which it gathers information; controverts OFAC’s

established procedures governing removal requests, see 31 C.F.R. § 501.807 (placing the burden

on the SDNT to establish that removal from the SDN List is warranted); and, most importantly,

amounts to a “broad programmatic attack” on OFAC’s administration of sanctions, which the

APA does not permit, see SUWA, 542 U.S. at 64; see also Lujan, 497 U.S. at 891 (explaining

that “respondent cannot seek wholesale improvement of this program by court decree, rather than

in the offices of the Department or the halls of Congress, where programmatic improvements are

normally made”); Vill. of Bald Head Island v. U.S. Army Corps of Engineers, 714 F.3d 186, 194

(4th Cir. 2013) (holding “performance in maintaining [project] was not action that was

circumscribed and discrete,” and explaining that a court is “obvious[ly]” unable “to function in []

a day-to-day managerial role over agency operations”).

       Even if the Court were to conclude that the “maintenance” of Joumaa’s designation and

“the continued blocking of his assets” constitute agency actions under the APA, Joumaa has

nonetheless failed to state a claim for two additional reasons. First, the continued listing and

blocking are functions of the congressionally enacted Kingpin Act. See 21 U.S.C. § 1904(b)

(stating that “there are blocked . . . all such property and interests in property within the United

States, or within the possession or control of any United States person, which are owned or

controlled by” a designated person). Accordingly, while OFAC may be responsible for the

initial decision to designate Joumaa, “Congress has spelled out the legal effect.” Cf. Sprint




6
 See Specially Designated Nationals and Blocked Persons List, available at
https://www.treasury.gov/ofac/downloads/sdnlist.pdf (last visited March 8, 2018).
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Nextel Corp., 508 F.3d at 1132. The consequences of Joumaa’s designation are thus attributable

to action by Congress, not OFAC, and so are not agency actions for purposes of APA review.

See id.

          Second, even if Joumaa’s challenge implicated agency action, and even if that action

were attributable to OFAC, Joumaa has failed to establish the finality of that action as required

by 5 U.S.C. § 704. Pursuant to the APA, agency action is not final unless it “mark[s] the

consummation of the agency’s decisionmaking process” and is “one by which rights or

obligations have been determined, or from which legal consequences will flow.” Rhea Lana,

Inc. v. Dep’t of Labor, 824 F.3d 1023, 1026-27 (D.C. Cir. 2016) (citing Bennett v. Spear, 520

U.S. 154, 177-78 (1997)). OFAC acknowledges that it completed its decisionmaking

processes—and therefore engaged in final agency action—on January 26, 2011 and March 2,

2018, when it designated Joumaa as a SDNT and denied his request for reconsideration,

respectively. See A.R. at 16-17, 23-24, 1612-14. But Joumaa’s insistence that each moment

between those actions, i.e., the “maintenance” of his designation and “the continued blocking of

his assets,” constitutes a separate final agency action subject to judicial review, e.g., Compl., ¶

38, not only renders the finality requirement meaningless, but also cannot be reconciled with

OFAC’s consideration of requests for removal, see Perrigo Research & Dev. Co. v. U.S. FDA,

No. CV 17-2517 (ABJ), 2017 WL 6017349, at *8 (D.D.C. Dec. 1, 2017) (“When the agency

gives an indication that its decision is subject to further consideration or possible modification,

its action is not final.”); Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety Comm’n,

324 F.3d 726, 732 (D.C. Cir. 2003) (conducting investigation is not final agency action).




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       Thus, Joumaa has not established that OFAC’s “maintenance” of his designation and “the

continued blocking of his assets” constitute final agency actions subject to judicial review, and

the Court should therefore dismiss his claims based on those theories pursuant to Rule 12(b)(6).

       B.      OFAC’s Decision Not to Delist Joumma Is Not Arbitrary And Capricious

       When evaluating claims brought pursuant to the APA, a court reviews an agency decision

based on the administrative record. Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985)

(citing Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 420 (1971)). A court should

uphold an agency decision unless it is “(A) arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law; (B) contrary to constitutional right, power, privilege, or

immunity; (C) in excess of statutory jurisdiction, authority, or limitations, or short of statutory

right; [or] (D) without observance of procedure required by law.” 5 U.S.C. § 706(2).

       Under this deferential standard, the agency’s decision is presumed valid, and a court

reviews only whether that decision “was based on a consideration of the relevant factors and

whether there has been a clear error of judgment.” Citizens to Preserve Overton Park, 401 U.S.

at 416. An agency’s decision may be deemed arbitrary and capricious only in circumstances

where the agency “has relied on factors which Congress has not intended it to consider, entirely

failed to consider an important aspect of the problem, offered an explanation for its decision that

runs counter to the evidence before the agency,” or its decision “is so implausible that it could

not be ascribed to a difference in view or the product of agency expertise.” Motor Vehicle Mfrs.

Ass’n v. State Farm, 463 U.S. 29, 43 (1983). The court may not “substitute its judgment for that

of the agency.” Id. Rather, the agency’s decision should be affirmed as long as it is supported

by a rational basis. Id.; see also Zevallos, 10 F. Supp. 3d at 118-19.




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       This deference is further heightened in cases, such as this one, that involve national

security and foreign affairs. Indeed, the Supreme Court has emphasized the need for courts to

grant this heightened deference even when considering constitutional claims; such deference is

required because courts should respect the Executive’s expertise in the national security and

foreign policy arenas. Holder v. Humanitarian Law Project, 561 U.S. 1, 33-34 (2010). Cases

involving blocking orders, whether issued under the Kingpin Act or IEEPA, are no exception.

Zevallos, 10 F. Supp. 3d at 119 (recognizing additional deference beyond that typically accorded

to an agency under the APA); Zarmach Oil Servs., Inc. v. U.S. Dep’t of the Treasury, 750 F.

Supp. 2d 150, 155 (D.D.C. 2010) (“courts owe a substantial measure of ‘deference to the

political branches in matters of foreign policy,’ including cases involving blocking orders”)

(citation omitted); Holy Land Found. for Relief & Dev. v. Ashcroft, 219 F. Supp. 2d 57, 84

(D.D.C. 2002), aff’d, 333 F.3d 156 (D.C. Cir. 2003) (“Blocking orders are an important

component of U.S. foreign policy, and the President’s choice of this tool to combat terrorism is

entitled to particular deference.”).

       Applying the highly deferential standard of review required by the APA and the national

security and foreign policy nature of Joumaa’s SDNT designation, the Court should, if it reaches

the merits, uphold the only potentially reviewable agency action—OFAC’s decision to deny

Joumaa’s request for removal from the SDN List. The administrative record fully supports

OFAC’s conclusion that he continues to warrant SDNT designation.7

       The March 2, 2018 decision explains that Joumaa should remain on the SDN List

because, based on the information available to OFAC, including classified and law enforcement




7
 To reiterate, Joumaa does not, and cannot, seek to challenge his 2011 designation under the
APA as the claim is time-barred.
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sensitive information, he continues to meet the criteria for designation under the Kingpin Act.

A.R. at 1-21; see also 1612-14, 1617. Contrary to Joumaa’s claim regarding the “absence of

contemporary evidence,” Compl., ¶ 40; see also id. ¶¶ 38-39, OFAC’s conclusion is entirely

consistent with the evidence before the agency, see State Farm, 463 U.S. at 43. For example, the

agency found that Joumaa, subsequent to his designation, “is associated with a designated SDNT

individual in the pick up of bulk drug proceeds in Europe to launder to Colombia”; “oversees

money laundering operations between Lebanon, Colombia, and Venezuela”; and “is noted to

currently be the leader of a group of money launderers.” A.R. at 1617.

       OFAC’s decision also took due account of the documents and arguments submitted by

Joumaa, as well as his responses to the questionnaire provided by OFAC. As to Joumaa’s claims

that he has never been involved in narcotics trafficking or money laundering, OFAC found such

denials lack credibility. Id. at 4-7; see also id. at 1617. Supporting OFAC’s determination were

the affidavit in support of Joumaa’s arrest and complaint, as well as the criminal indictment

against him, which detailed, through multiple sources, the methods, locations, and amounts of

Joumaa’s illicit activities. Id. at 5-7, 69-83; see Zevallos, 10 F. Supp. 3d at 122 (holding that

OFAC’s denial decision was based on substantial evidence, and observing that the agency relied

on an indictment in the U.S. District Court for the Southern District of Florida for, inter alia,

money laundering).

       OFAC likewise determined that Joumaa’s statements about the nature and extent of prior

relationships with other SDNTs lacked credibility. A.R. at 9-12. For example, Joumaa admitted

that he had “a business relationship with Pedro Claver Mejia Salazar,” but he did not

acknowledge that he worked with Mejia as part of Mejia’s global drug money laundering

operation, id. at 9-11, 113, 1613, 1617; see also id. at 131, 139.



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       The agency also took into account, and reasonably rejected, the various arguments made

by Joumaa concerning the date and reliability of OFAC’s evidence, as well as the supposed

“danger of a mistaken designation.” Id. at 14, 1613; see also id. at 138-40. OFAC’s fact finding

followed its standard practice, which prior decisions in this Circuit have upheld against similar

challenges,8 and Joumaa’s arguments failed “to impugn the accuracy and integrity” of that

process. Id. at 14, 1613. Nor was there any basis to suggest that Joumaa’s designation was due

to a case of mistaken identity. Id. at 14, 1613.

       Further, OFAC considered the numerous documents submitted by Joumaa in support of

his request for reconsideration. Id. at 14-16, 1613; see also id. at 1615 n.1 (explaining OFAC’s

review of translated and untranslated materials). The agency reasonably determined, however,

that those documents were insufficient to demonstrate that Joumaa’s removal from the SDN List

is warranted. See id. On the one hand, OFAC accepted, for purposes of deciding Joumaa’s

request, that the operations of or Joumaa’s relationship to the Hassan Ayash Exchange Company,

the New Line Exchange Trust Co., and Goldi Electronics S.A. ceased after his designation. Id. at

15, 1613 n.1. OFAC also credited a report prepared by the Banking Control Commission, which

purportedly found that the New Line Exchange Trust Co. appeared to comply with certain anti-

money laundering provisions. Id. at 16 n.34, 1613.




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  E.g., Holy Land Found. for Relief & Dev. v. Ashcroft, 333 F.3d 156, 162 (D.C. Cir. 2003)
(rejecting challenge to OFAC’s use of hearsay evidence); Zevallos, 10 F. Supp. 3d at 123 n.9
(finding unpersuasive plaintiff’s argument that “OFAC relied on outdated, biased, and incredible
sources”; plaintiff “made these arguments to OFAC, [] OFAC concluded that the evidence before
it was credible, [and] [i]t is not the province of this Court to reweigh the evidence and reconsider
[plaintiff’s] arguments on appeal”); Kadi, 42 F. Supp. 3d at 13-23 (holding OFAC’s designation
was supported by substantial evidence, notwithstanding plaintiff’s argument that “the evidence
underlying OFAC's decision is unreliable”).
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        However, any operations (or lack thereof) of the Hassan Ayash Exchange Company and

the New Line Exchange Trust Co. subsequent to Joumaa’s designation do not rebut the specific

evidence available to OFAC establishing that Joumaa previously used these entities to launder

narcotics proceeds. Id. at 15-16, 1613; see also id. at 1617. Additionally, Joumaa did not submit

any independent reports concerning anti-money laundering measures implemented by the Hassan

Ayash Exchange Company or the Ellissa Exchange Company. Id. at 16, 1613. Indeed, Joumaa

did not even attempt to submit documents to rebut all the allegations concerning the Ellissa

Exchange Company or other aspects of Joumaa’s vast drug trafficking and money laundering

network, including those outside of Lebanon and those not involving business entities. Id. at 15,

1613.

        Given the absence of such rebuttal evidence, and in light of the information otherwise

available to OFAC, the agency’s decision to deny Joumaa’s request for reconsideration readily

satisfies the highly deferential APA standard that the Court must apply. See Zevallos, 10 F.

Supp. 3d at 123 n.9 (explaining court must uphold OFAC’s decision if “the evidence OFAC

relied upon as a whole ‘adequately supports its ultimate decision’”) (quoting Fla. Gas

Transmission Co. v. FERC, 604 F.3d 636, 645 (D.C. Cir. 2010)). Moreover, the evidence bears

on facts that Congress expressly intended the agency to consider. See Citizens to Preserve

Overton Park, 401 U.S. at 416; Zevallos, 10 F. Supp. 3d at 122 (noting Kingpin Act’s broad

definition of “narcotics trafficking” and concluding that “evidence pointing to both Mr.

Zevallos’s involvement with drug trafficking itself, as well as his connection to the laundering

and management of assets tied to drug trafficking (including his own prior drug trafficking), both

. . . formed a rational basis for OFAC’s decision”). Accordingly, there is no basis to conclude




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that OFAC’s denial decision is arbitrary and capricious under 5 U.S.C. § 706(2)(A) or in excess

of statutory authority under 5 U.S.C. § 706(2)(C).

       The Court should therefore dismiss Joumaa’s claims regarding the “maintenance” of his

designation and “the continued blocking of his assets” under Rule 12(b)(6) or, alternatively,

grant Defendants summary judgment on these claims under Rule 56.9

III.   OFAC’S DESIGNATION OF JOUMAA ACCORDS WITH DUE PROCESS.

       Joumaa alleges that OFAC infringed upon his Fifth Amendment right to due process by

inadequately notifying him of and explaining the basis for maintaining his designation, as well as

by not deciding his request for reconsideration within a reasonable time. Compl., ¶ 45. He

similarly invokes the APA to challenge the process he received. Id. ¶ 44; see id. ¶ 39 (arguing

that the Court should set aside the designation under 5 U.S.C. § 706(2)(B), because OFAC’s

“maintenance of his designation and the continued blocking of his assets violates [sic] Plaintiff’s

due process rights”), ¶ 41 (alleging that the “maintenance of Plaintiff’s designation . . . and the

continued blocking of his assets is [sic] without observance of procedure required by law[,] 5

U.S.C. § 706(2)(D), as Plaintiff has been denied an effective opportunity to respond to the

allegations leveled against him in support of his designation under the Kingpin Act”).

       Joumaa’s arguments are without merit. First, as a foreign person without substantial

contacts with the United States, Joumaa does not have standing to assert any constitutional




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  If the Court were to find to the contrary, under the APA the proper remedy would be remand to
the agency, and not an order directing Defendants to rescind the SDNT designation as Joumaa
asserts, Compl., Relief Requested. See, e.g., N. Air Cargo v. U.S. Postal Serv., 674 F.3d 852,
861 (D.C. Cir. 2012) (“When a district court reverses agency action and determines that the
agency acted unlawfully, ordinarily the appropriate course is simply to identify a legal error and
then remand to the agency, because the role of the district court in such situations is to act as an
appellate tribunal.”).
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rights. Second, whether viewed in the context of the Fifth Amendment or the APA, the notice

provided by OFAC accords with any process that Joumaa may be due.

        A.      Joumaa Does Not Having Standing To Assert Constitutional Rights

        “[N]on-resident aliens who have insufficient contacts with the United States are not

entitled to Fifth Amendment protections.” Jifry v. FAA, 370 F.3d 1174, 1182 (D.C. Cir. 2004);

accord Johnson v. Eisentrager, 339 U.S. 763, 770 (1950). A limited exception may apply when

aliens “have come within the territory of the United States and developed substantial connections

with this country.” United States v. Verdugo-Urquidez, 494 U.S. 259, 271 (1990). Although the

D.C. Circuit has not directly addressed substantial connection claims within the context of an

OFAC narcotics sanctions case, the Circuit’s discussion of the issue in Foreign Terrorist

Organization (“FTO”) cases is instructive. Cf. Kadi, 42 F. Supp. 3d at 25-26. In the FTO case

National Council of Resistance of Iran v. Department of State, the D.C. Circuit concluded that

two Iranian organizations could bring a due process challenge because they had an “overt

presence within the National Press Building in Washington, D.C.” and a “claim[] [of] an interest

in a small bank account.” 251 F.3d 192, 201 (D.C. Cir. 2001). Conversely, in 32 County

Sovereign Committee v. Department of State, the D.C. Circuit rejected the petitioners’ claim to

constitutional rights where they “demonstrated neither a property interest nor a presence in this

country.” 292 F.3d 797, 799 (D.C. Cir. 2002).

        Here, Joumaa is a foreign national, and the Complaint alleges neither a physical presence

in the United States nor a substantial connection between him and this country. See Compl.,

¶ 12. While Joumaa claims that “certain of [his] assets are indeed blocked in the United States,”

id. at 9 n.7, this allegation is insufficient to demonstrate that he is entitled to due process

protections, see Verdugo-Urquidez, 494 U.S. at 271. Further, the Complaint is wholly without



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supporting details as to what these assets are and whether they are actually owned by Joumaa, as

well as any facts demonstrating that the asset freezing is a result of the Kingpin Act designation.

See generally Compl. Accordingly, Joumaa has not set forth a basis for this Court to apply the

Fifth Amendment, particularly in the context of a summary judgment motion. See Conant, 60 F.

Supp. 3d at 107 (“Conclusory assertions offered without any factual basis in the record cannot

create a genuine dispute sufficient to survive summary judgment.”) (citing Ass’n of Flight

Attendants-CWA, AFL-CIO v. U.S. Dep’t of Transp., 564 F.3d 462, 465-66 (D.C. Cir. 2009)).

        Because Joumaa has not demonstrated standing to assert any rights under the

Constitution, the Court should dismiss his Fifth Amendment claim for lack of subject-matter

jurisdiction.

        B.      Joumaa’s Fifth Amendment Due Process Argument Fails On The Merits

        In the event the Court were to find that Joumaa has standing to assert a Fifth Amendment

claim, it should nevertheless hold that OFAC’s disclosures satisfy due process. “The essence of

due process is the requirement that ‘a person in jeopardy of serious loss (be given) notice of the

case against him and opportunity to meet it.’” Mathews v. Eldridge, 424 U.S. 319, 348 (1976).

When viewed through the lens of the Fifth Amendment, “[d]ue process is flexible and calls for

such procedural protections as the particular situation demands.” Gilbert v. Homar, 520 U.S.

924, 930 (1997). In the context of OFAC’s designation of a SDNT—where, as the D.C. Circuit

has held, pre-deprivation notice is not required, Zevallos, 793 F.3d at 116—due process

mandates only that OFAC provide Joumaa with “a basis from which to understand his

designation, and thereby offer rebuttal arguments and evidence in response.” Zevallos, 10 F.

Supp. 3d at 131; see also Fares, 249 F. Supp. 3d at 125-28 (holding that “the total body of

information provided by OFAC to Plaintiffs”—which included the redacted administrative



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record, press release, and non-privileged summaries of law enforcement sensitive information—

“satisfied due process”).10

       Here, OFAC’s disclosures gave Joumaa sufficient notice of the agency fact findings

underlying his 2011 designation, as well as a meaningful opportunity to rebut those findings.

Contrary to Joumaa’s claim that the facts underlying his designation “remain obscured to him

and [his] counsel,” Compl., ¶ 25, OFAC described not only the illicit activities undertaken by

Joumaa, see A.R. at 67 (“Joumaa has coordinated the transportation, distribution, and sale of

multi-ton shipments of cocaine from South America and has laundered the proceeds from the

sale of cocaine in Europe and the Middle East”); see also id. at 34, 36; but also the specific

methods Joumaa used to launder these proceeds, id. at 67 (describing “bulk cash smuggling

operations and Lebanese exchange houses”), 27 (“The export of vehicles . . . was a method used .

. . .”); see also id. at 36. OFAC’s disclosures further detail the geographic extent of Joumaa’s

operations, id. at 36 (“Lebanon, West Africa, Panama and Colombia”), 27 (Joumaa exported cars

“from the United States to West Africa”); as well as a location used to “broker drug trafficking

and money laundering activities,” id. at 67 (Caesar’s Park Hotel). Additionally, OFAC specified

the amount of money laundered by Joumaa and his organization, id. at 67 (“as much as $200

million per month”), 27 (“hundreds of millions of dollars”); the identities of Joumaa’s criminal




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  Joumaa does not contend that OFAC cannot rely on classified or law enforcement sensitive
information. He does, however, imply that he is entitled to receive such information. See
Compl., Relief Requested (requesting order requiring Defendants “to disclose to Plaintiff any
and all information” concerning designation). He is not. Zevallos, 793 F.3d at 113 (explaining
that “the safety of investigators or informants might be put at hazard were their testimony made
available as part of the administrative record”); Kadi, 42 F. Supp. 3d at 10, 23-24 (rejecting
argument that plaintiff could not respond to motion for summary judgment without access to
classified record); see also Jifry, 370 F.3d at 1183-84; Fares, 249 F. Supp. 3d at 128-29.
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associates and front companies, id. at 66-67; as well as his relationship to these persons as “the

leader” of a drug trafficking and money laundering organization, id. at 27, 66-67.

       These disclosures alone are sufficient, but any doubt as to the adequacy of the notice

provided to Joumaa is removed by the additional unclassified summary produced to Joumaa on

March 9, 2018. In that summary, OFAC provided additional detail as to the locations, methods,

and amounts of Joumaa’s illicit activities. Id. at 1617. For instance, OFAC described the use of

the Hassan Ayash Exchange Company and the Ellissa Exchange Company in his money

laundering operations, linking those entities to Joumaa’s “transfer [of] funds derived from the

proceeds of drug trafficking to the United States through various used car dealerships.” Id.; see

id. (“Vehicles are subsequently purchased and shipped to the Middle East.”). The agency also

discussed a specific transaction in or around 2007 involving “a pickup of 100,000 euros in

France.” Id. Additionally, OFAC explained that Joumaa “was involved in laundering drug

proceeds by smuggling cashier’s checks into Lebanon. The checks were payments for loads of

cocaine smuggled into Lebanon. The drugs were traced back to Maicao, Colombia.” Id.

       To the extent the Fifth Amendment applies to such a decision, OFAC has likewise

provided adequate notice of the basis for its denial of Joumaa’s request for reconsideration.

OFAC’s letter dated March 2, 2018 explains the reasons for OFAC’s conclusion that Joumaa has

failed to establish an insufficient basis for the designation or that circumstances have changed

such that the designation is no longer warranted. Id. at 1612-14; see 31 C.F.R. § 501.807.

OFAC first stated that it did not find credible Joumaa’s claim that he is not currently involved in

narcotics trafficking. A.R. at 1612. OFAC also explained Joumaa’s “designation was based on

reliable and corroborated information that he led a drug trafficking and money laundering

organization moving hundreds of millions of dollars in narcotics proceeds from the United States



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to Lebanon.” Id. OFAC additionally cited the 2011 indictment against Joumaa and the affidavit

in support of Joumaa’s arrest and criminal complaint—with its accompanying details regarding

the methods, amounts, and locations of Joumaa’s illicit activities—as further evidence in support

of the agency’s conclusion. Id. OFAC also determined that Joumaa’s responses regarding his

relationship to previously designated SDNTs—including Pedro Mejia Salazar and his sons—

lacked credibility. Id. at 1613.

       OFAC then described the reasons that the documents submitted by Joumaa were

insufficient to demonstrate that Joumaa’s removal from the SDN List is warranted. Id.

Crediting Joumaa’s claims regarding the operations of, or his involvement with, certain

designated entities, as well as a report from the Banking Control Commission concerning anti-

money laundering controls in place at one of those entities, OFAC nevertheless explained that

the submitted documents failed to rebut OFAC’s evidence regarding these entities and also

neglected to address other aspects of Joumaa’s activities that resulted in his designation. Id.

Finally, OFAC addressed Joumaa’s remaining arguments about the supposed potential that

Joumaa’s designation was based on a mistake of identity, as well as the reliability of OFAC’s

evidence. Id. OFAC explained that both arguments are unpersuasive. Id.

       Bolstering these disclosures, OFAC has also produced to Joumaa the redacted

administrative record on which its denial decision was based, as well as a non-privileged and

unclassified summary of otherwise privileged information. Id. at 1615-17. These documents

further detail why Joumaa continues to warrant SDNT designation. For example, the

administrative record addresses at length Joumaa’s challenge to the reliability of OFAC’s

evidence. Id. at 12. It also discusses information submitted by Joumaa concerning certain

Lebanese legal proceedings, and explains why the conclusion reached by a Lebanese panel does



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not affect OFAC’s determination. Id. at 13. With respect to the unclassified summary, OFAC

provided information as to the methods of Joumaa’s illicit activities, id. at 1617 (including

“money pick-ups,” “pick up of bulk drug proceeds,” “utiliz[ing] a shipping company,” and

“mov[ing] cars from the U.S. to Europe and Africa”); as well as their location, id. (Europe,

Colombia, Lebanon, Venezuela, Africa, and the United States); dates, id. (July 2011 through

November 2016); amounts, id. ($200 million per month); and Joumaa’s role, id. (Joumaa “is

noted to currently be the leader of a group of money launderers”).

       These disclosures more than satisfy due process, as Joumaa has “been apprised . . . of the

government’s view regarding the basis for [his] designation[], and as such, can meaningfully

‘proffer rebuttal evidence and arguments to OFAC to contest [his] designation[].’” Fares, 249 F.

Supp. 3d at 127 (quoting Zevallos, 10 F. Supp. 3d at 131). Indeed, Joumaa’s submissions to

OFAC, including initial and supplemental responses to OFAC’s request for information, only

confirm that he was able to challenge the basis of OFAC’s designation and submit additional

evidence and arguments for OFAC’s consideration. Cf. Kadi, 42 F. Supp. 3d at 29 (noting that

designated individual was able to rebut evidence “through his own submissions to OFAC,”

including in response to requests for information). “That OFAC did not ultimately agree with

[Joumaa’s] characterization of the evidence against him does not mean that he was not provided

with due process.” Zevallos, 10 F. Supp. 3d at 129-30.

       Joumaa’s remaining arguments regarding due process are unpersuasive. First, Joumaa

complains that “[t]he redacted version of the evidentiary memorandum [regarding his initial

designation] contained even less detail than that released in OFAC’s press statement at the time

of Plaintiff’s designation.” Compl., ¶ 27. But OFAC redacted information from the evidentiary

memorandum because it contained classified and law enforcement sensitive information (as well



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as irrelevant information), A.R. at 26, and OFAC’s press release, along with the press chart and

non-privileged and unclassified summaries of otherwise privileged information, complements the

evidentiary memorandum by providing additional notice to Joumaa regarding the basis for his

designation. See Fares, 249 F. Supp. 3d at 125-28.

       Second, Joumaa contends that “to the extent that OFAC has indeed taken steps to

supplement the administrative record, OFAC has failed to disclose any such supplemental

information or allegations to Plaintiff so as to permit him adequate notice of the basis for

OFAC’s maintenance of his designation and a meaningful opportunity to respond to that

supplemental information as part of the reconsideration process.” Compl., ¶ 28. This argument

fails on multiple grounds. As an initial matter, and as explained above, OFAC does not—and is

not required to—“supplement the administrative record” with respect to each of its designations;

rather, once it receives a request for reconsideration, the agency evaluates the request in light of

currently available information. See 31 C.F.R. § 501.807. Further, the premises underlying

Joumaa’s claim—that maintaining a designation is a deprivation, that OFAC must continually

update its information regarding SDNTs, and those SDNTs are entitled to receive such

information on a rolling basis—are unsupported by any requirement of procedural due process

and therefore fail to establish a claim under the Fifth Amendment. Indeed, in light of the

resources required to implement the system imagined by Joumaa, it is difficult to discern how

such a set of requirements could survive the Supreme Court’s test in Mathews v. Eldrigde. See

424 U.S. 319, 335 (1976) (instructing that courts must consider “the Government’s interest,

including the function involved and the fiscal and administrative burdens that the additional or

substitute procedural requirement would entail”). Moreover, OFAC has provided Joumaa with

the reasons for denying his request for reconsideration, and as discussed above those reasons



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provide ample notice regarding the basis of the agency’s decision. Thus, even if the Court were

to conclude that OFAC should have provided the more recent materials to Joumaa before issuing

its decision, any error is harmless. See Zevallos, 793 F.3d at 117.

       Third, Joumaa states that OFAC has violated his Fifth Amendment rights “by failing to

render a decision on [his] reconsideration case in a reasonable period of time.” Compl., ¶ 45.

For the reasons explained above, however, the timing of OFAC’s decision was eminently

reasonable. Additionally, the D.C. Circuit rejected an almost identical argument in Zevallos.

793 F.3d at 117. As the court explained in that case, such a challenge turns on whether OFAC

promptly provided a SDNT with an unclassified administrative record, and whether OFAC

allowed the SDNT to respond. Id. Here, OFAC provided Joumaa the administrative record

regarding his initial designation only five months after it was requested and allowed him to

respond (and supplement his response). See A.R. at 26, 92-98, 106-42, 397-410, 1394-1403;

compare Zevallos, 10 F. Supp. 3d at 131 (providing record six months after request did not

violate due process). Accordingly, this case is unlike the out-of-Circuit cases on which Joumaa

has relied in his correspondence to OFAC asserting a Fifth Amendment violation, see A.R. at 94.

Contrast Al Haramain Islamic Found., Inc. v. U.S. Dep’t of Treasury, 686 F.3d 965, 984-85 (9th

Cir. 2012) (finding that OFAC “refus[ed] to disclose its reasons for investigating and designating

[the petitioner], leaving [the petitioner] unable to respond adequately to the agency’s unknown

suspicions”); KindHearts for Charitable Humanitarian Dev., Inc. v. Geithner, 647 F. Supp. 2d

857, 904 (N.D. Ohio 2009) (finding that the petitioner was “largely uninformed about the basis

for the government’s actions”); see Zevallos, 793 F.3d at 117 (“Unlike the petitioners in Al

Haramain and KindHearts who never fully understood why they had been designated, Zevallos

was fully equipped to rebut Treasury’s rationale.”). Further, and as explained above, any error



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associated with the timing of OFAC’s decision would ultimately be harmless. See Zevallos, 793

F.3d at 117.

       Because OFAC adequately informed Joumaa of the basis for his designation, as well as

the basis for the denial of his request for reconsideration, his claimed Fifth Amendment violation

fails. Thus, even if the Court were to reach the merits of this issue, Defendants would be entitled

to summary judgment.

       C.      OFAC Has Provided Joumaa A Reasoned Explanation For Its Decision

       The APA requires an agency to “‘examine the relevant data and articulate a satisfactory

explanation for its action including a rational connection between the facts found and the choice

made’ to allow [a reviewing court] to evaluate the agency’s decision-making process.” Nat’l

Shooting Sports Found., Inc. v. Jones, 716 F.3d 200, 214 (D.C. Cir. 2013) (quoting State Farm,

463 U.S. at 43). The procedural requirements for reasoned decisionmaking vary depending on

the agency action involved. See Vt. Yankee Nuclear Power Corp. v. NRDC, 435 U.S. 519, 548

(1978)). Further, a court must “uphold a decision of less than ideal clarity if the agency’s path

may reasonably be discerned.” Nat’l Shooting Sports Found., 716 F.3d at 214 (quoting State

Farm, 463 U.S. at 43).

       Invoking § 706(2)(B) and § 706(2)(D) of the APA, Joumaa raises two arguments

contesting the adequacy of OFAC’s explanation of the “maintenance” of his designation. Both

are without merit. First, Joumaa’s claim under § 706(2)(B), which allows a court to set aside

agency action “contrary to constitutional right, power, privilege, or immunity,” relies on the

same argument as his claim under the Fifth Amendment, compare Compl., ¶ 39 with id. ¶¶ 44-

45, and fails for the same reasons. It also fails because, as described above, OFAC’s




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“maintenance” of a designation and “the continued blocking of [] assets” are not final agency

actions subject to judicial review under the APA.

       Second, with respect to his claim under § 706(2)(D), which permits a court to set aside

agency action “without observance of procedure required by law,” Joumaa contends that he “has

been denied an effective opportunity to respond to the allegations leveled against him in support

of his designation under the Kingpin Act.” Compl., ¶ 41. It is unclear which purportedly

required procedure or law Joumaa is referencing. Regardless, Joumaa has failed to state a claim

for relief, as he has not demonstrated that the challenged activities—the “maintenance” of his

designation and “the continued blocking of his assets,” id.—are final agency actions subject to

judicial review. Further, as discussed above, Joumaa received more than adequate notice of the

basis for his designation and the subsequent denial of his request for reconsideration, and, in

light of the correspondence he has submitted, he can hardly complain that he has been denied an

opportunity to respond to OFAC’s decision to designate him as a SDNT. See A.R. at 90-98,

106-42, 397-410, 1394-1408; cf. Zevallos, 10 F. Supp. 3d at 131 (“Mr. Zevallos’s meaningful

opportunity to be heard is further evidenced by the 2009 questionnaire OFAC sent to him in

response to his renewal of his reconsideration request, and his opportunity to respond to that.”);

Kadi, 42 F. Supp. 3d at 29 (“Kadi’s opportunity to be meaningfully heard is evidenced by the

extensive submissions he made to challenge his continued designation.”). Moreover, Joumaa’s

argument under 5 U.S.C. § 706(2)(D) fails because he cannot demonstrate that any error was

prejudicial. See Zevallos, 739 F.3d at 114-15.

       The Court should therefore dismiss Joumaa’s claims under 5 U.S.C. § 706(2)(B) and

§ 706(2)(D) pursuant to Rule 12(b)(6) or, in the alternative, grant summary judgment in favor of

Defendants pursuant to Rule 56.



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                                       CONCLUSION

       For the foregoing reasons, the Court should grant Defendants’ motion to dismiss or, in the

alternative, for summary judgment, and enter judgment in favor of Defendants on all claims.

       Dated March 9, 2018                          Respectfully submitted,

                                                    CHAD A. READLER
                                                    Acting Assistant Attorney General

                                                    JOHN R. GRIFFITHS
                                                    Branch Director

                                                    DIANE KELLEHER
                                                    Assistant Branch Director

                                                    /s/Stuart J. Robinson
                                                    STUART J. ROBINSON
                                                    Trial Attorney
                                                    United States Department of Justice
                                                    Civil Division, Federal Programs Branch
                                                    450 Golden Gate Ave.
                                                    San Francisco, CA 94102
                                                    Tel: (415) 436-6635
                                                    Fax: (415) 436-6632
                                                    Email: stuart.j.robinson@usdoj.gov
                                                    Cal. Bar No. 267183

                                                    Counsel for Defendants




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